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                                     MINUTE ORDER



 CASE NUMBER:                CRIMINAL NO. 22-0060-2 LEK

 CASE NAME:                  USA v Gwynn Darle Morrison



       JUDGE:        Leslie E. Kobayashi               DATE:               09/06/2022



COURT ACTION: COURT ACTION: EO: ORDER DENYING GOVERNMENT’S
REQUEST [FILED 8/3/22 (DKT. NO. 31)]

        On August 3, 2022, Plaintiff United States of America (“the Government”) filed a request
for the Court to direct the defense attorney to provide a statement of informed consent as was
ordered in United States v. Rabago, et al., Cr. No. 19-00040 LEK. See Government’s Request
for Statement of Informed Consent, filed 8/3/22 (dkt. no. 31) (“Request”). Defense counsel filed
her opposition to the Request on August 10, 2022. See Megan K. Kau’s Objection to Request
for Statement of Informed Consent, Filed August 3, 2022 [Dkt. 31], filed 8/10/22 (dkt. no. 35)
(“Response”).

        Having reviewed the submissions, the Court FINDS and CONCLUDES that Ms. Kau
does not have a conflict of interest as set forth in Rule 1.7, Hawai’i Rules of Professional
Conduct. Specifically, based on the representations by the Government and Ms. Kau, there is
not “a significant risk that the representation of” Defendant Gwynn Darle Morrison “will be
materially limited by [Ms. Kau’s] responsibilities to another client, a former client, or a third
person, or by [her] personal interest.” See Haw. R. Pro. Cond. 1.7(a)(2).

       The Government’s Request is therefore DENIED.

       IT IS SO ORDERED.

Submitted by: Agalelei Elkington, Courtroom Manager
